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                             UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF MICHIGAN
                                  SOUTHERN DIVISION


UNITED STATES OF AMERICA,

       Plaintiff,
                                                     Case No. 1:21-cr-185
v.
                                                     Hon. Hala Y. Jarbou
JOSHUA LOUIS RUPP,

      Defendant.
____________________________/

                ORDER ADOPTING REPORT AND RECOMMENDATION

       On November 12, 2021, Magistrate Judge Sally J. Berens issued a Report and

Recommendation (R&R) recommending that that Defendant's plea of guilty to the Felony

Information be accepted, that the Court adjudicate Defendant Guilty, and that the written plea

agreement be considered for acceptance at the time of sentencing. The R&R was duly served on

the parties. No objections have been filed, and the deadline for doing so expired on November 26,

2021. Based on this, and on the Court’s review of all matters of record, including the audio

transcript of the plea proceedings,

       IT IS ORDERED that:

1.     The R&R (ECF No. 22) is APPROVED and ADOPTED as the opinion of the Court.

2.     Defendant's plea of guilty is accepted and Defendant is adjudicated guilty of the charge set

       forth in the Felony Information.

3.     The written plea agreement (ECF No. 6) is hereby continued under advisement pending

       sentencing.
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4.      Defendant shall remain detained pending sentencing, now scheduled for March 23, 2022,

        at 9:00 a.m.



Date:     November 30, 2021                        /s/ Hala Y. Jarbou
                                                  HALA Y. JARBOU
                                                  UNITED STATES DISTRICT JUDGE




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